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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 UNITED STATES OF AMERICA,                                    :
                                              Plaintiff,      :
                                                              :    21 Cr. 13 (LGS)
                            -against-                         :
                                                              :        ORDER
 XAVIER DELACRUZ,                                             :
                                              Defendant, :
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LORNA G. SCHOFIELD, District Judge:

        This case has been assigned to me for all purposes. It is hereby ORDERED that counsel

for all parties shall file by Friday, January 15, 2021, a joint letter via CM/ECF proposing a schedule

for discovery, the filing of motions, and three proposed dates for a status conference. The parties

also should state whether the parties seek to have the Court exclude time under the Speedy Trial

Act between the filing of the order and the pre-trial conference, and the basis for the exclusion.



Dated: January 12, 2021
       New York, New York
